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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA


  MEAGAN CREWS                    *
                                  *
                      Plaintiff   *                        CIVIL ACTION NO.
                                  *                        17-CV-234
  v.                              *
                                  *                        JUDGE SHELLY D. DICK
  ACCOUNT CONTROL BUREAU and      *
  EXPERIAN INFORMATION            *                        MAGISTRATE JUDGE
  SOLUTIONS, INC.                 *                        ERIN WILDER-DOOMES
                                  *
                       Defendants *
  ***************************


                                               ORDER

         CONSIDERING the Joint Stipulation of Dismissal With Prejudice Between Plaintiff and

  Defendant Account Control Bureau, Inc. filed by the Plaintiff and Defendant, Account Control

  Bureau, Inc. into the record of the captioned matter;

         IT IS HEREBY ORDERED that this action is DISMISSED with prejudice as to

  Defendant, Account Control Bureau, Inc., each party to bear its own costs.


         Baton Rouge, Louisiana the 23rd day of October, 2018.



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                                               HONORABLE SHELLY D. DICK
                                               MIDDLE DISTRICT OF LOUISIANA




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